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UNITED STATES DISTRICT COURT | HAR 0 4 909
EASTERN DISTRICT OF MICHIGAN CLERK'S OFFICE
VS ERTRIOTCOL
United States of America, oe

Plaintiff,
Criminal No. 19-20478
V.
Honorable Denise Page Hood
D-1 Aleksandr Grichishkin
D-2 Andrei Skvortsov | L
D-3 Aleksandr Skorodumov [E
D-4 Pavel Stassi, MAR 04. 9909

GLERK’S OFFICE
Defendants. U.S. DISTRICT COURT

/ EASTERN MICHIGAN

 

GOVERNMENT’S MOTION, SUPPORTING BRIEF
AND ORDER TO UNSEAL FIRST SUPERSEDING INDICTMENT AND
THE ACCOMPANYING ARREST WARRANT

The United States of America hereby moves for an order unsealing the First
Superseding Indictment and the accompanying Arrest Warrant in this case, and
States:

1. The First Superseding Indictment in this case charges the Defendants
with one or more federal crimes.

2. Rule 6(e)(4) of the Federal Rules of Criminal Procedure, which
authorizes this Court to seal indictments, implicitly authorizes this Court
to unseal indictments.

3. The government requests that the First Superseding Indictment and the

accompanying Arrest Warrant for D-1 Aleksandr Grichishkin be
 

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unsealed because he has been arrested and is entitled to receive a copy of —
the First Superseding Indictment and the accompanying Arrest Warrant.
WHEREFORE, the government requests this Court to issue an order unsealing
the First Superseding Indictment and the accompanying Arrest Warrant.
Respectfully submitted,

Matthew Schneider
United States Attorney

s/Patrick Corbett

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Dated: March 4, 2020

IT IS SO ORDERED.

Elizabeth A. Stafford
United States Magistrate Judge

Entered: %3- U-L0LO

 
